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1                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
2                                EASTERN DIVISION
3
4    NATHSON E. FIELDS,            )
                                   )
5                      Plaintiff, )             Docket No. 10 C 1168
                                   )
6                 vs.              )
                                   )
7    CITY OF CHICAGO, et al.,      )            Chicago, Illinois
                                   )            March 21, 2012
8                      Defendants. )            9:30 a.m.
9
                            TRANSCRIPT OF PROCEEDINGS
10                  BEFORE THE HONORABLE MATTHEW F. KENNELLY
11
     APPEARANCES:
12
13   For the Plaintiff:           LAW OFFICES OF H. CANDACE GORMAN
                                       BY: MS. H. CANDACE GORMAN
14                                     220 South Halsted Street
                                       Suite 200
15                                     Chicago, Illinois 60661
16                                   LAW OFFICE OF MOLLY ARMOUR
                                        BY: MS. MOLLY ARMOUR
17                                      4050 North Lincoln Avenue
                                        Chicago, Illinois 60018
18
19   For the Defendant:           DYKEMA GOSSETT PLLC
                                       BY: MR. DANIEL M. NOLAND
20                                     10 South Wacker Drive
                                       Suite 2300
21                                     Chicago, Illinois 60606
22
23
24                LAURA M. BRENNAN - Official Court Reporter
                     219 South Dearborn Street - Room 2102
25                          Chicago, Illinois 60604
                                (847) 373-5598
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1         (The following proceedings were had in open court:)
2                THE CLERK: 10 C 1168, Fields v. City.
3                THE COURT: Good morning.
4                MS. GORMAN: Good morning, your Honor; Candace Gorman
5    for the plaintiff.
6                MS. ARMOUR: Molly Armour on behalf of Mr. Fields.
7                MR. NOLAND: Good morning, your Honor; Dan Noland for
8    the City defendants.
9                THE COURT: So Ms. Armour's motion to withdraw is
10   granted.
11               MS. ARMOUR: Thank you.
12               THE COURT: You don't have to hang around if you
13   don't want to.
14               So, Mr. Noland, let me hear what you have to say on
15   the motion to compel.
16               MR. NOLAND: Judge, I have been -- we are working on
17   it. We will provide an amended response to the -- and what
18   we're talking about were these documents that are
19   specifically --
20               THE COURT: Okay.
21               MR. NOLAND: -- referenced by Bates number and
22   numbers 4 and 5 which are -- I haven't verified the
23   accuracy -- but I think 1,023 to 1,017. And we will provide
24   an amended response. It's going to be we don't know where
25   they have been.
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1                Essentially what the defendant is asking is the chain
2    of custody of these documents.
3                THE COURT: Right.
4                MR. NOLAND: And, you know, chain of custody for
5    evidence, that is something that CPD ordinarily does,
6    documents not so much.
7                So I am investigating it, and what I'm asking the
8    Court is if we could have two more weeks to do so basically
9    because I'm going to be out next week.
10               THE COURT: So what I would propose to do is just
11   enter and continue this motion maybe by three weeks, and you
12   will see where we are at that point.
13               Is that okay.
14               MS. GORMAN: There is only one point I'd like to
15   make.
16               When I talked with counsel about what I was looking
17   for, I told him if I didn't have to do a motion, I would just
18   ask for the paper trail on this one document. But if I had to
19   file a motion, I want to know where all of the investigative
20   files have been so I can try to track this down as to why they
21   were even separated.
22               So I would like everything since I had to file a
23   motion.
24               THE COURT: I assume you have discussed this.
25               MS. GORMAN: Okay.
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1                MR. NOLAND: I think we can work it out. The
2    plaintiffs had --
3                I think we can work it out.
4                THE COURT: I'm going to enter and continue this to
5    the --
6                You're coming in on the 10th of April anyway. So I'm
7    just going to enter and continue it to that same date, at
8    9:30.
9                MR. NOLAND: Thank you.
10               Judge, a housekeeping matter, if I could bring it up.
11               THE COURT: Yes.
12               MR. NOLAND: Jean Snyder and Herschella Conyers, I
13   had issued a subpoena to them a while back.
14               THE COURT: Right.
15               MR. NOLAND: The Court had ordered that we pay
16   certain costs associated with their time. In responding to
17   the subpoena, the City has told me they need a court order
18   from your Honor.
19               THE COURT: So just draft something and get it to me.
20               MR. NOLAND: If I could do that, yes.
21               And if we have agreed, I will submit it through the
22   proposed order system.
23               THE COURT: That's fine.
24               MR. NOLAND: Thank you.
25               THE COURT: All right, take care.
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1                MS. GORMAN: Thank you.
2         (Which were all the proceedings had in the above-entitled
3    cause on the day and date aforesaid.)
4
5
6                               C E R T I F I C A T E
7
8              I hereby certify that the foregoing is a true and
9    correct transcript of the above-entitled matter.
10
11
12   /s/ Laura M. Brennan                                  November 7, 2017
13
14
     Laura M. Brennan
15   Official Court Reporter                                       Date
     Northern District of Illinois
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